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                               EXHIBIT G
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10
                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
11
                                     COUNTY OF SAN BERNARDINO
12
13   DAVID WALKER, an individual, on behalf of                 Case No. CIVDS2022311
     himself and all others similarly situated,
14                                                             [Assigned for all purposes to Hon. David
                      Plaintiffs,                              Cohn, Dept. S-26]
15
            vs.                                                PLAINTIFF DAVID WALKER'S
16                                                             REPLY IN SUPPORT OF MOTION
     HOWMET AEROSPACE, INC., a Delaware                        FOR LEAVE TO FILE FIRST
17   corporation; SCHLOSSER FORGE                              AMENDED COMPLAINT
18   COMPANY, a Delaware corporation; and
     DOES 1-50,
19                                                             [Filed concurrently wUh Supplemental
                      Defendants.                              Declaration ofJeremy F. Bollinger]
20
                                                               Date: June 7, 2021
21                                                             Time: 10:00 am
                                                               Dept: S-26
22
                                                               Action Filed: October 13, 2020
23
24
25
26
27
28


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 1         I.            INTRODUCTION
 2
                Contrary to Defendant's unsupported claims of undue prejudice and unreasonable delay,
 3
     Plaintiff David Walker ("Plaintiff') has properly and timely brought the instant Motion for Leave
 4
     to File First Amended Complaint (the "Motion") to add class claims based on the same facts and
 5
     theories already alleged in his Private Attorneys General Act ("PAGA'') complaint. Defendant
 6
     argues that Plaintiff is precluded from amending his complaint, for the first time, because the
 7
     proposed claims are "already at-issue" in an earlier filed action, Stewart v. Arconic Global
 8
     Fasteners & Rings, Orange County Superior Comi Case No. 30-2018-00968137-CU-OE-CXC
 9
10   ("Stewart") and Navarro v. Howmet Aerorspace, Inc., United States District Court for the Central

11   District of California, Case No. 2:21-cv-00164-DSF-E ("Navarro"), and Plaintiff unreasonably

12   delayed in seeking amendment. Defendant's arguments fail for several reasons: (1) California's

13   liberal standard for amending pleadings, (2) Plaintiff was diligent in seeking amendment, (3)

14   Defendant has failed to show how it will be prejudiced, and (4) the procedural postures of other
15   cases pending against Defendant should not dictate the framing of the pleadings in this case.
16   II.        ARGUMENT
17              A.       Plaintiff Has Satisfied California's Liberal Standard For Amending Pleadings.
18              Defendant's Opposition fails to counter California's "strong policy in favor of liberal
19   allowance of amendments." Mesler v. Bragg Mgmt. Co. (1985) 39 Cal. 3d 290, 296; Lemoge
20
     Electric v. County of San Mateo (1956) 46 Cal.2d 659, 664 ("In the fmiherance of justice, great
21
     liberality should be exercised in permitting a plaintiff to amend his complaint"). Defendant
22
     contends that Plaintiff was dilatory in seeking leave to amend. (Opp. at 8.) Not so. But, even if it
23
     were true, the only question for the Court to decide is whether there is any prejudice to the
24
     responding paiiy from the delay attendant on the motion to amend. Absent prejudice, there is no
25
     good reason to deny the motion. KWredge Sports Co. v. Superior Court (1989) 213 Cal. App. 3d
26
     1045, 1048 ("Finally, Marker contends Kittredge unreasonably delayed moving to amend. [~] Even
27
     if this were so, it is an abuse of discretion to deny leave to amend where the opposing pa1iy was
28


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 1   not misled or prejudiced by the amendment."); Higgins v. Del Faro (1981) 123 Cal. App. 3d 558,
 2
     564 ("Where no prejudice is shown to the adverse paiiy, the liberal rule of allowance prevails.").
 3
            As shown below, Defendant has failed to show that Plaintiff was, in fact, dilatory or how
 4
     Defendant will be prejudiced by any such delay.
 5
            B.       Plaintiff Was Diligent In Seeking Leave And Did Not Delay.
 6
            Defendant asserts that Plaintiff was "unreasonably dilatory" in seeking to amend his
 7
     complaint which, it argues, "is grounds in and of itself to deny the Motion." (Opp. at 8.) The brief
 8
     history of this case demonstrates that Plaintiff did not delay in bringing his Motion.
 9
10               •   October 13, 2020: Plaintiff files PAGA Complaint

11               •   October 29, 2020: Court issues stay of proceedings, including formal discovery,

12                   until initial status conference set for January 26, 2021

13               •   January 20, 2021: Paiiies file Initial Joint Case Management Conference Rep01i

14                   which addressed the following:
15                       o   Under "Applicable Arbitration Agreements", Defendant did not commit to
16                           whether an arbitration agreement existed and, instead, stated: "Plaintiff
17                           only alleges a single claim under PAGA which is not subject to
18                           arbitration." (Section VI);
19                       o   The Parties agreed that September 1, 2021 be set as a deadline to amend
20
                             the complaint to add new parties (Section II); and
21
                         o   The Paiiies request the next CMC be set out far enough "to allow the
22
                             parties to engage in discovery and determine whether an early mediation is
23
                             appropriate." (Section XII.A.)
24
                 •   January 26, 2021: Court lifts stay and Plaintiff serves discovery the same day
25
                 •   March 1, 2021: Defendant serves objections to discovery and produces no
26
27
                     documents (Declaration of Jeremy F. Bollinger ["Bollinger Deel."]       ,r 7.)
                 •   March 2-April 5, 2021: Parties Meet and Confer re Defendant's discovery
28
                     responses (Bollinger Deel. ,r 9, Exh. B.)

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 1                •   April 5, 2021: Defense counsel announces that all of Plaintiffs claims "are being
 2
                      actively discussed as part of the Stewart settlement" (Id.)
 3
                  •   April 16, 2021 : Stewart parties file stipulation stating Plaintiff intends to file
 4
                      Second Amended Complaint "within the next ten (10) days" (Id.         ,r 10 Exh. C at
 5
                      p.2.)
 6
                  •   April 19, 2021: Plaintiff emails a copy of proposed amended complaint to
 7
                      Defense counsel requesting stipulation to file amended complaint (Id.         ,r 2, Exh.
 8
                      A.)
 9
10                •   April 21, 2021: Defendant refuses to stipulate to filing amended complaint and

11                    Plaintiffs counsel reserves date for hearing on this Motion (Id.     ,r 2.)
12                •   April 29, 2021: Plaintiff files his Motion.

13           No delay can be gleaned from this timeline. Plaintiff sought leave to amend his complaint

14   only three (3) months after the Court lifted the stay of proceedings in this action and the Parties
15   even anticipated that amendments might be made to the complaint as late as September 1, 2021.
16   Putting aside the reason for waiting three months - which the timeline also shows was warranted
17   and reasonable 1 - amending a complaint after three months cannot be said to be "unreasonably
18   dilatory."
19           Unwarranted delay has been found where the proposed amendment is '"offered after long
20
     unexplained delay or on the eve of trial[] or where there is a lack of diligence'." Hulsey v. Koehler
21
     (1990) 218 Cal. App. 3d 1150, 1159 (no abuse of discretion to deny amendment "more than three
22
     years" after initial filing). For example, when a plaintiff seeks leave to amend his or her complaint
23
     only after the defendant has mounted a summary judgment motion directed at the allegations of
24
25       1
           Plaintiff sought leave to amend as soon as he determined that Defendant was attempting to
26   extinguish Plaintiffs claims by having the Stewart plaintiff amend its complaint to include the
     proposed claims in Plaintiffs proposed amendment. At that point, Plaintiff could no longer wait
27   to resolve the discovery dispute to determine whether an arbitration agreement existed and filed
28   his Motion in time to secure the first available hearing date. Moreover, Plaintiff had been lulled by
     Defense counsel into believing the parties would engage in discovery to "determine whether an
     early mediation is appropriate." Unfortunately, Plaintiff had to learn the hard way that Defendant
     had no such intention at the time it signed the Joint Report.
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 1   the unamended complaint, "[i]t would be patently unfair to allow plaintiffs to defeat [the] summary
 2
     judgment motion by allowing them to present a 'moving target' unbounded by the pleadings."
 3
     Meli can v. Regents of University of California (2007) 151 Cal.App.4th 168, 17 6. Defendant has
 4
     identified no similar type of prejudicial delay, nor could it given the time line above.
 5
             Instead, Defendant makes the blanket assertion that any delay may be "grounds in and of
 6
     itself to deny the Motion." (Opp. at 8.) However, the authorities Defendant cites are inapposite to
 7
     the facts of this case. In Record v. Reason (1999) 73 Cal. App. 4th 472, the main case Defendant
 8
     cites for its proposition, the appellant filed a complaint for personal injuries in April 1995. Id. at
 9
10   475. The respondent moved for summary judgment nearly two years later. Id. At the same time,

11   the appellant moved for leave to amend his complaint to be heard on the same date as the summary

12   judgment motion. Id. at 478. While Record states that a delay can be grounds in and of itself for

13   denial of amendment, the court in Record did not deny amendment on that basis. The Record court

14   denied the amendment because the "appellant put forth nearly identical evidence in opposition to

15   summary judgment as he did in support of the motion to amend" and because the court affirmed
16   summary judgment for the respondent, "the trial court did not abuse its discretion in denying
17   appellant leave to amend his complaint" based on the same facts. Id. at 486-87.
18           In the only other case Defendant cites nominally to support its position, Roemer v. Retail
19   Credit Co. (1975) 44 Cal. App. 3d 926, the delay was even more substantial - "over three years
20
     later" and "at a second trial". Id. at 939. Moreover, the Roemer comi was concerned that the
21
     proposed amendment contradicted a stipulation the moving paiiy had entered into and, thus, "it
22
     would be improper to permit the proposed amendment after the entire case had been tried on the
23
     basis of the stipulation". Id. at 940.
24
             The lesson to be taken from Record and Roemer is that even when a paiiy waits two or
25
     three years to amend a pleading, courts still find it necessary to cite additional circumstances
26
     justifying denial of the amendment beyond mere delay. Because neither Record nor Roemer denied
27
     the requested amendment based solely on the lengthy two or three year delay, this Comi should
28


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 1   not use such authorities as the basis of denying Plaintiff's amendment on a three-month delay "in
 2
     and of itself'. And Defendant has offered no other authority for the Court to consider.
 3
            Defendant also contends that Plaintiff's reason for not filing his class claims in his original
 4
     complaint      i.e., to pursue discovery of any applicable arbitration agreement - was not justified,
 5
     because Defendant produced Plaintiff's personnel file in response to a pre-litigation request. (Opp.
 6
     at 8-9.) Labor Code section 1198.5, the code section under which Plaintiff requested his employee
 7
     records, states: "Every current and former employee, or his or her representative, has the right to
 8
     inspect and receive a copy of the personnel records that the employer maintains relating to the
 9
10   employee's performance or to any grievance concerning the employee." (Emphasis added.)

11   Employers can and do exploit the limitation "relating to the employee's performance or to any

12   grievance concerning the employee" to withhold ce1iain records, including arbitration agreements,

13   from Section 1198.5 requests. Plaintiff did not want to take the chance here that Defendant had

14   withheld the arbitration agreement. Indeed, Defense counsel's stonewalling of Plaintiff's efforts

15   to discover the existence of an arbitration agreement in formal discovery raised further suspicion
16   that this was the case. Thus, it was reasonable for Plaintiff to wait as long as he did to let the
17   discovery process play out in order to rule out the possibility of arbitration.
18          Finally, Defendant suggests that because Plaintiff was aware of all the facts necessary to
19   allege the proposed class claims at the time he filed his original complaint, this demonstrates
20
     unreasonable delay. (Opp. at 8-9.) However, it is well-settled that "[t]he fact that the new matter
21
     [in the proposed amendment] may have been known to the applicant at the time of filing his
22
     original pleading is not sufficient ground for denying the right to amend." Kroplin v. Huston (1947)
23
     79 Cal. App. 2d 332,340. On the contrary, when the "the proposed amendments 'relate to the same
24
     general set of facts"', there's no prejudice to the opposing party and the amendment should be
25
     freely granted. Kittredge Sports Co. v. Superior Ct., (1989) 213 Cal. App. 3d 1045, 1048; see also
26
     Mot. at 6-7.
27
28


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 1           C.       Defendant Has Failed To Show How It Will Be Prejudiced.
 2
                      I.      Claims "Nearly Resolved" In Another Case Are Irrelevant To Plaintiffs
 3
                              Right To Amend His Complaint Here.
 4
             Defendant's prejudice argument centers on the procedural posture of two other cases
 5
     pending against Defendant: Stewart and Navarro. In short, Defendant states "there is simply no
 6
     just or proper reason that Plaintiff should seek, or be permitted, to amend his Complaint to add
 7
     claims he knows have already been pied, litigated and are being resolved on his behalf." (Opp.
 8
     at 7 [original emphasis omitted; bold added].) No pmi of Defendant's argument withstands
 9
10   scrutiny.

11           Let's start with the argument that Plaintiffs claims have "already been pied" and

12   "litigated" in other actions. Plaintiff extensively explained in his Motion that his proposed class

13   claims and theories are distinct from those pied in the Stewart Action. (See Mot. at 4-5.) In fact,

14   Plaintiff omitted from his proposed amended complaint the only theory of liability that was already
15   pied in Stewart - the claim for unpaid ove1iime due to Defendant's failure to factor bonuses into
16   its regular rate of pay. (Id. at 5.) Navarro's unpaid wages claim is premised on the same unpaid
17   overtime theory. (Supplemental Declaration of Jeremy F. Bollinger ["Supp. Bollinger Deel."] ,i 2,
18   Exh. D ,i 43(6) [Navarro complaint defining Failure to Pay All Wages Sub-Class as those class
19   members "who were not paid all wages due them ... as a result of Defendants' illegal bonus
20
     policy"].) Neither Stewart nor Navarro allege a minimum wages claim and neither allege any claim
21
     for unpaid wages due to the donning and doffing protective gear, as Plaintiff Walker alleges in his
22
     complaint.
23
            Navarro and Walker allege other overlapping claims, but as with the overtime claim, they
24
     allege different theories of liability. For example, Navarro and Walker both allege meal and rest
25
     break claims, but Navarro claims that meal breaks were provided late, rest breaks were interrupted
26
     and Defendant failed to pay premiums for these violations. (Supp. Bollinger Deel., Exh. D ,i,i 29,
27
     36, 38.) In contrast, Plaintiff Walker alleges in this case that Defendant failed to correctly calculate
28
     the meal and rest break premiums that Defendants actually paid. (Bollinger Deel. ,i 8.) The

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 1   difference is material because the plaintiffs in Navarro and Stewart are seeking unpaid break
 2
     premiums and they are not focused on the facts surrounding those shifts when premiums were
 3
     actually paid (as Plaintiff Walker is).
 4
            Navarro's reimbursement claim presents the same issue.               (Stewart doesn't have a
 5
     reimbursement claim.) The reimbursement claim in Navarro seeks reimbursement for mileage
 6
     expenses. (Supp. Bollinger Deel., Exh. D 1 88 ["Defendants, by vi1iue of their mileage
 7
     reimbursement policies and practices, failed to indemnify Plaintiffs ... for all necessary, mileage-
 8
     related expenses"].) In contrast, here, Plaintiff Walker seeks reimbursement for the purchase of
 9
10   masks and boots. (Exh. I, Proposed F AC 1100 ["When PLAINTIFF and the Reimbursement Class

11   members purchased their own N95 masks and boots, they were not reimbursed for these

12   purchases"].) Again, this is a material difference.

13          Contrary to Defendant's statement that the interests of putative class members in this case

14   "are advocated by class counsel' in Stewart and Navarro", that simply is not the case when those

15   cases allege separate theories of liability based on different facts. Plaintiff Navarro was employed
16   as a "quality inspector" for Defendant (Supp. Bollinger Deel., Ex. D 1 15), whereas Plaintiff
17   Walker was a "grinder". (Exh. 1 to Mot. [Proposed FAC] 17.) Accordingly, it makes sense that
18   different types of workers would have experienced different types of violations. As a grinder,
19   Walker may not have needed to drive his car and incurred mileage. Likewise, as a quality inspector,
20
     Navarro may not have had to wear a mask or boots to perform a job that involved driving and
21
     incurring mileage. As such, it is very likely that these two plaintiffs are not members of each
22
     other's reimbursement classes and are not in a position to adequately represent the other's interests.
23
     Likewise, Navarro likely did not allege a donning and doffing claim, because as a quality inspector
24
     he may not have been required to wear protective clothing and equipment to perform his job, as
25
     Plaintiff Walker was required to do as a grinder. Because of the possibility - and likelihood     that
26
     Navarro and Walker are not typical of each other, the Court should not use the pendency of
27
     Navarro to foreclose claims in this action at the pleading stage.
28


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 1          In short, Defendant's argument that it will be prejudiced because of the possibility that it
 2
     might have to "duplicate litigation from Stewart and/or Navarro" is purely speculative and unlikely
 3
     given that Plaintiff Walker omitted from his proposed amended complaint the one overtime theory
 4
     of liability that is already alleged in Stewart and Navarro. Even so, it is "unreasonable to deny a
 5
     party the right to amend where the only apparent hardship to the defendants is that they will have
 6
     to defend." Dunzweiler v. Superior Court ofAlameda County (1968) 276 Cal. App. 2d 569, 578.
 7
            Defendant's second argument that Plaintiff's claims are "being resolved" similarly
 8
     provides no basis for denying Plaintiff's Motion. As an initial matter, according to Defendant, the
 9
10   Stewart Action has held the status of being "nearly resolved" for two years         which really just

11   means that it isn't resolved. The Stewart parties attended a failed mediation on May 2, 2019, and

12   another on October 8, 2020. (Opp. at 4.) They claim to have finally reached a settlement earlier

13   this year, but in their joint stipulation to the Orange County Superior Court, the Stewart parties

14   stated on April 16, 2021, that they are "still engaged in discussions". (Bollinger Deel., Exh. C at

15   p.2 [emphasis added].)

16          The Stewart stipulation also demonstrates that Plaintiff Walker's proposed class claims in
17   this case are not "already at-issue" in Stewart. The Stewart stipulation states that the Stewart
18   plaintiff "inten[ds] to submit an amended Notice to the Labor Workforce Development Agency
19   and file a second amended complaint adding PAGA/class claims", but neither has happened yet.
20
     To date, a search of the Stewart docket on the Orange County Superior Court's website
21
     demonstrates that no settlement agreement has been submitted for approval. Nor has the court set
22
     a date for a hearing on preliminary approval. (See Supp. Bollinger Deel.~ 3, Exh. E (screenshot
23
     of Court docket).) In fact, the last pleading filed in that case by a party is the April 16, 2021
24
     stipulation which states that the parties anticipate, "finalizing said discussion and filing a
25
     stipulation and proposed second amended complaint within the next ten (10) days." (Id.; Bollinger
26
     Deel.~ 10 Exh. C at p.2.) That would have been by April 26, 2021, more than a month ago.
27
     Similarly, a PAGA search of Stewart on the LWDA's website also shows no indication that the
28
     Stewart plaintiff has submitted a copy of the settlement agreement as required by Labor Code §

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 1   2699(!)(2). (See Supp. Bollinger Deel. ,r 4, Exh. F (screenshot of L WDA website for the Stewart
 2
     case submissions). Until a settlement agreement has actually been filed in Stewart, the Court
 3
     should not even consider its potential impact on Plaintiffs Motion. While it is difficult to see what
 4
     relevance the settlement will have on Plaintiffs proposed amendment, given the different claims
 5
     and theories alleged, until a settlement is presented to the Stewart court, Defendant's claim of
 6
     prejudice based on Stewart is premature, speculative and unsubstantiated.
 7
                     ii.    Plaintiff's Reason for Seeking Leave to Amend Is Just and Proper.
 8
             Defendant suggests that Plaintiffs counsel has an ill motive in pursuing the proposed
 9
10   amendment, namely "to argue for fees in connection with the Proposed Claims." (Opp. at 7.) It is

11   not entirely clear what Defendant means by this, but Plaintiffs actions (as set forth in the timeline

12   above) demonstrate that Plaintiff and his counsel have consistently acted to preserve the claims of

13   putative class members and to ensure that they receive value for the claims Plaintiff has brought

14   on their behalf. 2

15           Any attorneys' fees Plaintiffs counsel may receive in this case must necessarily be
16   approved and awarded by the Court. Whether the fees are sought as a percentage of a common
17   fund or on a lodestar basis, Plaintiffs counsel will establish through competent evidence the work
18   performed, the hours spent in that endeavor, and the results achieved. However, the fact of
19   Plaintiffs counsel's potential attorneys' fees in this case should not play into the Court's
20
     consideration of whether to grant leave to amend Plaintiffs complaint. That Defendant cites no
21
     authority to suggest such considerations may be relevant on a motion for leave to amend a
22
     complaint underscores the absurdity of Defendant's position.
23
             The fact is that Plaintiff has articulated a reason for seeking to amend his complaint at this
24
     time and that reason is consistent with his responsibility to protect the interests of absent class
25
     members. As soon as Plaintiffs counsel received notice from Defense counsel that "all of the
26
27
         2
28         Because fees are likely to be awarded as a percentage of a common fund, the amount of fees
     will be proportionate to the amount recovered for the class. Accordingly, Plaintiffs counsel could
     only increase its fees if it successfully recovers more compensation for class members, i.e., if
     Plaintiffs counsel does a good job for the class.
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 1   claims in the instant lawsuit you filed are being actively discussed as pa1t of the Stewart settlement"
 2
     and that the filing of an amended complaint in Stewart was imminent, Plaintiff promptly acted to
 3
     preserve his class claims by filing his Motion. (Mot. at 5.)
 4
            D.        Defendant's Intent To Include The Proposed Claims In Stewart Does Not
 5
                      Preclude PfaintiffBeing Granted Leave.
 6
            Defendant assetis that it can waive statute of limitations by agreement with the Stewart
 7
     plaintiff the reby successfu lly settling the proposed claims in Plaintiff Walker's proposed
 8
     amendment. Even if that is true, it is irrelevant to this Court's decision on the instant Motion
 9
10   because any settlement in Stewart will require the Orange County Superior Comt's approval and

11   this Comt should not second guess how the Stewart comt will rule. Any attempt by the Stewart

12   parties to settle out the claims from under the plaintiffs in this action and/or Navarro will likely

13   invite objections or intervention by the other plaintiffs (and potentially other class members) as

14   well as heightened scrutiny by the court. Accordingly, even if the " nearly resolved" settlement

15   evolves into a fully executed settlement agreement, couti approval is far from afait accompli and
16   should not play into this Comt's consideration of Plaintiffs Motion at this time.
17   m.     CONCLUSION
18          In light of the foregoing and Plai11tiff s good fa ith and timely conduct in bringing this
19   Motion, and the fact that the amendment sought will not prejudice Defendant, Plaint iff respectfully
20
     requests the Court grant this Motion and allow Plaintiff to file the proposed First Amended
21
     Complaint.
22
     DATED: May 28, 2021                                     MOSS BOLLINGER, LLP
23
24
25                                                           Jeremy F. Bollinger
                                                             Attorneys for Plaintiff D AVID WALKER
26
27
28


                  PLAINTIFF'S REPLY CN SUPPORT OF MOTION FOR LEAVE TO FrLE FlRST AMENDED COMPLAINT
                                                         • 10-
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      8   Attorneys for Plaintiff
          DAVID WALKER
      9
                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
     10
                                       COUNTY OF SAN BERNARDINO
     11

     12   DAVID WALKER, an individual, on behalf of    Case No. CIVDS2022311
          himself and all others similarly situated,
     13                                                [Assigned for all purposes to Hon. David
                         Plaintiffs,                   Cohn, Dept. S-26]
     14
                 vs.                                   SUPPLEMENTAL DECLARATION
     15                                                OF JEREMY F. BOLLINGER IN
          HOWMET AEROSPACE, INC., a Delaware           SUPPORT OF PLAINTIFF'S
     16   corporation; SCHLOSSER FORGE
          COMP ANY, a Delaware corporation; and        MOTION FOR LEAVE TO FILE
     17   DOES 1-50,                                   FIRST AMENDED COMPLAINT

     18                  Defendants.                   [Filed concurrently with Plaintiff's Reply
                                                       In Support of Motion for Leave to File
     19                                                First Amended Complaint]

     20                                                Date: June 7, 2021
                                                       Time: 10:00 am
     21                                                Dept: S-26

     22
                                                       Action Filed: October 13, 2020
     23

     24

     25

     26

     27

    28


                            SUPPLEMENTAL DECLARATION OF JEREMY F. BOLLINGER
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                        SUPPLEMENTAL DECLARATION OF JEREMY F. BOLLINGER
      2      1, Jeremy F. Bollinger, declare as fo llows:

      3              1. I am an attorney licensed to practice law in the State of California, and my firm,

      4   Moss Bollinger, LLP, of which I am a partner, is counsel of record for Plaintiff, David Walker

      5   ("Plaintiff'). I have personal knowledge of the matters contained herein. This Declaration

      6   supplements my original declaration that I submitted in support of Pla intiffs Motion for Leave to

      7   File First Amended Complaint. If called as a witness, l would testify to the following:

      8              2 . Attached hereto as Exhibit D is a true and correct copy of the complaint filed in

      9   Navarro v. Howmet Aerorspace, Inc. , Los Angeles County Superior Court Case no. 20STCV46141

     10   and removed to the United States District Cou1t for the Central District of Californ ia, Case No.

     11   2:21-cv-00 164-DSF-E. The complaint attached as Exhibit D is accessible on Pacer.

     12              3. Attached hereto as Exhibit Eis a true and correct copy the Case Summary fo r Paul

     13   A. Stewart v. Arconic Global Fasteners & R;ngs, Inc, Orange County Superior Court Case No. 30-

     14   2018-00968137-CU-OE-CXC, accessed by me on May 28, 2021. According to the coU1t's website,

     15   as of May 28, 2021, no party has filed a notice of settlement or a motion for preliminary approval

     16   of a settlement, and the court has not set a hearing for prelirn.inary approval The only hearing

     17   currently scheduled fo r this matter on the court's website is a status conference on June 4, 2021.

     18              4. Attached hereto as Exhibit Fis a true and correct copy of the PAGA N otice Public

     19   Search-Case Detail for L WDA Case No. LWDA-CM-417494-18 filed by Paul A. Stewa1t against

    20    Acronic Global Fastners and Rings, inc., accessed and printed by me on May 28, 2021. According

    21    to the LWDA' s website, as of May 28, 2021 , no settlement agreement has been subm itted to the

    22    Labor & Workforce Development Agency for Case No. LWDA-CM-417494-18.

    23           I decJare under penalty of pe1jury under the laws of the State of California that the
    24    foregoing is true and correct.

    25           Executed on this 28th day of May, 2021, at Sherman Oaks, California.

    26

    27

    28                                                          Jeremy F. Bollinger

                                                            1
                            SUPPLEMENTAL DECLARATION OF JEREMY F. BOLLINGER
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                 EXHIBIT D
                                     to
                       Declaration of
                 Jeremy F. Bollinger
Case 5:21-cv-01136-DSF-E Document 1-8 Filed 07/07/21 Page 20 of 55 Page ID #:285
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                                                      Exhibit A
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                                                                                   Superior Court of Californla
          Sam Kim (SBN 258467]                                                       C:ountv of Los l\noeles
          Yoonis Han [SBN 256151]
      2 VERUM LAW GROUP, APC                                                             OEC O3 2020
        841 Apollo Street, Suite 340
      3 El Segundo, California 90245
        Tel: (424) 320-2000
      4 Fax: (424) 221-5010
        skim1@verumlg.com
      5
        Attorneys for PlaintiffJOSE NAVARRO, and all Qthers similarly situated
      6
      7                       Sl)PERIOR COURT OF THE STATE OF CALIFORNIA
     8                                 FOR THE COUNTY OF LOS ANGELES
      9
       JOSE NAVARRO, on behalfofhimselfand all                   CASE NO.
    IO others similarly situated,                                Uniimited Civil   2 0 ST CV 4 6141
     11                                                          CLASS ACTION
                         Plaintiff:
    ]2           V.
                                                                 l. FAILURE TO PAY ALL WAGES
    '13 HOWMET AEROSPACE l}'TC., a Delaware                      2". FALLURE TO PROV IDE .M EAL PERIODS
        Corporation; ARCONlC INC., a Pennsylvania                    OR COMPENS.ATION JN LIEU OF
    14 Corporation and-, OOES I through J00, inclusive,          3. FAILURE TO PROVIDE REST BREAKS
                                                                     OR COMPENSATION IN LIEU OF
    ]5                                                           4. FAILURETOPROVlDEACCURATE
                         Defendants.
    16                                                              ITEMIZED WAGE STATEMENTS
                                                                 ?• WAITINGTlM.E PENALTfES
    17                                                           6. FAILURE TO REJMBURSE BUSINESS
                                                                    EXPENSES
    18                                                           7. FAlLU.RETOPAYVACATlONWAOES
                                                                    TO EMPLOYEES
    19                                                           8. VlOLATfONS OP THE UNFA lR
    20                                                              COMPETITION LAW

    21                                                           DEMAND FOR JURY TRIAL

    22
    23           Plaintiff JOSE NA VARRO (hereinafter "Plaintiff'), on bebalf of himself and all others
    24 similarly situated, brings this action against Defendants.HOWMET AEROSPACE INC._. ARCONlC
    25    INC., luuJ D0~S 1-)00 (~llcctively '!D.efcndi:iots"), o.nd allege:i on infonnotion and belie.f, except
    26    those alleg~tions.relating to Plaintiffhimself, which are.asserted on personal knowledge·as follows:
    27 Ill

    28 Ill

                                                            ·l
                                              CLASS ACTJON COMPLAIITT
Case 5:21-cv-01136-DSF-E Document 1-8 Filed 07/07/21 Page 22 of 55 Page ID #:287
  Case 2:21-cv-00164-DSF-E Document 1-1 Filed 01/08/21 Page 3 of 23 Page ID #:11




                                         I.      JURISDICTION AND VENUE
    2           I.      This Court has jurisdiction over this action pursuant to Code of Civil Procedure

    3   §410.10 as Defendants do business in the State of California and have employed Plaintiff and each

    4   member of the putative class in the State of California and all of the unlawful conduct alleged herein

    5   occurred in the State of California.

    6           2.      The California Superior Court has jurisdiction in the matter because Plaintiff and each

        defendant are residents of and/or domiciled in the State of California. Further, there is no federal
    7
        question at issue as the issues herein are based solely on California statutes and laws including the
    8
        California Labor Code, Industrial Welfare Commission Wage Orders, Code of Civil Procedure, Rule
    9
        of Court, and Business and Professions Code.
   10
                3.      Venue is proper in this Court because Plaintiff, at all relevant times, was employed at
   II
        a place of business located within the County of Los Angeles.
   12
                4.      Venue as to each defendant is proper in this judicial district pursuant to Code of Civil
   13
        Procedure §395. Defendants operate and do business within the State of California, including Los
   14
        Angeles, and each defendant is within the jurisdiction of this Court for service of process purposes.
   15
        The unlawful acts alleged herein have a direct effect on Plaintiff and each of the similarly-situated
   16   members ofthe putative class within the State of California ("Plaintiff Class"). Defendants employ
   17   numerous members of the Plaintiff Class within the State of California, including Los Angeles,
   18   California.
   19           5.      Plaintiff is infonned, believes, and thereon alleges that Defendants' conduct, as
   20   alleged herein, fonns a significant basis for the claims asserted by Plaintiff and his fellow members

   21   of the Plaintiff Class in this action.

   22           6.      Plaintiff is informed, believes, and thereon alleges that Plaintiff and his fellow

   23   members of the Plaintiff Class are seeking significant relief from Defendants.

   24           7.      Plaintiff is informed, believes, and thereon alleges that the principal injuries sustained
        by Plaintiff and his fellow members of the Plaintiff Class, as alleges herein, resulted from the
   25
        conduct of Defendants, and were incurred in the forum state - California.
   26
                8.      Plaintiff is informed, believes, and thereon alleges that the claims asserted is this
   27
        action will be governed exclusively by the laws of the forum state - California - the state in which
   28
                                                            2
                                                 CLASS ACTION COMPLAINT
Case 5:21-cv-01136-DSF-E Document 1-8 Filed 07/07/21 Page 23 of 55 Page ID #:288
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        this action is originally filed.
    2           9.      Plaintiff is informed, believes, and thereon alleges that this action is brought in the

    3   County of Los Angeles Court for the State of California as said forum has a distinct nexus with
    4   Plaintiff and his fellow members of the Plaintiff Class, the hann. alleged, as well as Defendants.

    5           10.     Plaintiff is infonned, believes and thereon alleges that, at all times mentioned herein,

    6   the claims alleged in this action, and the causes of action derived therefrom, do not involve a federal
        question(s).
    7
                                              II.    INTRODUCTION
    8
                11.     This is a Class Action, pursuant to Code of Civil Procedure §382, on behalf of
    9
        Plaintiff and other similarly-situated members of the Plaintiff Class employed by or formerly
   10
        employed by Defendants within the State of California.
   11
                12.     For at least four years prior to the filing of this action and through to the present,
   12
        Defendants have had a consistent policy of failing to: pay all wages, including regular and overtime
   13
        wages, provide meal and rest breaks, pay wages of tenninated or resigned employees, comply with
   14
        the itemized wage statement provisions, failure to reasonable necessary business expenses, and
   15
        failure to pay vacation wages to employees, in violation of California wage and hour laws, provide
   16
        valid written notice compliant with Labor Code §2810.5, and violating the Unfair Competition law
   17   under Business & Professions Code § 17200 et seq.
   18           13.     Plaintiff, on behalf of himself and all members of the Plaintiff Class, brings this

   19   action pursuant to, including but not limited to, Labor Code §§200, 201,202,203,204,226, 226.7,,
   20   227.3, 510, 512, I I 94, 2802, and applicable Wage Orders, seeking unpaid overtime wages and/or

   21   proper calculation of the overtime rate, meal and rest period premiums, penalties, and reasonable

   22   attorneys' fees and costs.

   23           14.     Plainti~ on behalf of himself and all members of the Plaintiff Class, pursuant to

   24   Business & Professions Code §§ 17200 and 17208, also seeks restitution of unpaid wages and
        reimbursements.
   25

   26
        m.     THE PARTIES
                15.     Plaintiff JOSE NAVARRO resides in the County of Los Angels in the State of
   27
        California. Plaintiff was employed by Defendants as a non-exempt employee and performed duties
   28

                                                           3
                                             CLASS ACTION COMPLAINT
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         including but not limited to a quality inspector from May 2017 to December 12, 20 19.
     2           16.        Defendant HOWMET AEROSPACE INC. ("HAI") is a Delaware Corporation, with

     3   its principal place of business in Los Angeles, California, that is an established industry leader in

    4    engineered metal products, including engines, fasteners, and structures for aerospace and defense.

     5           17.        Defendant ARCONIC INC. ("AI") is a Pennsylvania Corporation, with its principal

    6    place of business in Los Angeles, California, that is an established industry leader in aluminum

         sheet, plate and extrusions, architectural products in the automotive, aerospace, commercial
    7
         transportation, industrial, and building and construction markets.
    8
                 18.        DOES 1 through I 00, inclusive, are persons or entities whose true names and
    9
         identities are now unknown to Plaintiff, and who therefore are sued by such fictitious names under
   10
         Code of Civil Procedure §474. Plaintiff will amend this complaint to allege their true names and
   11
         capacities once ascertained. Plaintiff is informed and believes that each of the fictitiously-named
    12
         Doe defendants, including any such defendants that may be the agents, representatives, or parents or
   13
         subsidiary corporations of the named Defendants, is responsible in some manner for the occurrences,
   14
         events, transactions, and injuries alleged herein and that the harm suffered by Plaintiff and Plaintiff
   15
         C lass were proximately caused by them in addition to Defendants.
   16            19.        Plaintiff is informed and believes and thereon alleges that each defendant, including
   17    the Doe defendants, acted in concert with each and every other defendant, intended to and did

   I8    participate in the events, acts, practices and courses of conduct alleged herein, and was a proximate

   19    cause of damage and injury thereby to Plaintiff and Plaintiff Class as alleged herein .
   20            20.        At all times herein mentioned, each defendant was the agent or employee of each of

   2I    the other Defendants and was acting within the course and scope of such agency or employment.

   22            21.        Plaintiff is informed and believes that Defendants are joint employers in that they are

   23    and were operating as a joint enterprise and/or single enterprise, and as the employer of Plaintiff and

   24    Plaintiff Class.

                 22.        Plaintiff is informed and believes that HAI is the successor of the Al, and the
   25
         employer of Plaintiff and Plaintiff Class.
   26
                 23.        Plaintiff is informed and believes, and based thereon alleges, that each defendant
   27
         acted in all respects pertinent to this action as the agent of the other defendant, carried out a joint
   28

                                                               4
                                                 CLASS ACTfON COMPLAINT
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        scheme, business plan or policy in all respects pertinent hereto, and the acts of each defendant are
    2   legally attributable to the other Defendants.
    3           24.    Plaintiff is infonned and believes, and based thereon alleges, that Defendants are
    4   now, and/or at all times mentioned in this Complaint were the agents, servants, franchisers,
    5 franchisees, representatives, owners, partners, shareholders, and/or employees of some or all other
    6   Defendants, and vice-versa, and in doing the things alleged in this Complaint and that Defendants
                        at
    7 are now and/or all times mentioned in this Complaint were acting within the course and scope of
      that agency, servitude,. retention and/or employment.
    8
              25.     On information and belief, Defendants are now, and/or at all times mentioned· in this
    9
      Complaint were the affiliates of some or all other Defendants, and vice-versa, and in doing the things
   10
      alleged in this Complaint, Defendants were directly or indirectly controlling, controlled by or under
   II
        common control with such other Defendants.
   12
               26.     On information and belief, Defendants at all times mentioned in this Complaint
   13
        approved of, condoned and/or otherwise ratified each and every one of the acts and/or omissions
   14
        alleged in this Complaint.
   15
              27.     Plaintiff is ignorant of the true names, capacities, relationships and extent of
   16 participation in the conduct herein alleged, of the Defendants sued herein as DOES I through I00,
   17 inclusive, but on infonnation and belief allege that said Defendants are legally responsible for the

   18 payment of proper overtime wages, rest and meal period compensation and/or Labor Code section
   19 203 penalties to the Plaintiff Class by virtue of their unlawful practices, and therefore sue these
   20   Defendants by such fictitious names. Plaintiff will amend this Complaint to allege the true names
   21   and capacities of the DOE Defendants when ascertained.

   22          28.     Plaintiff is informed and believes, and based thereon allege, that each Defendant
   23   acted in all respects pertinent to this action as the agent of the other Defendants, carried out a joint

   24   scheme, business plain or policy in all respects pertinent hereto, and the acts of each Defendant is

   25   legally attributable to the other Defendant.
                                        IV.     GENERAL ALLEGATIONS
   26
               29.     Plaintiff and Plaintiff Class are employees or fonner employees of Defendants and
   27
        have not been paid, during the relevant liability periods, the proper overtime wages for all hours
   28
                                                           s
                                              CLASS ACTION COMPLAINT
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         actually worked.      Plaintiff and Plaintiff Class were not paid meal period premiums for missed,
     2   interrupted or late meal periods. Plaintiff and Plaintiff Class were not paid rest break premiums for
     3   missed rest breaks.

     4           30.    Plaintiff and Plaintiff Class, at all times pertinent hereto, were not exempt from
     5 overtime wage requirements, meal and rest break requirements, or the implementing rules and
     6   regulations of the applicable IWC California Wage Orders.
                 31.    At the time Plaintiff's employment ended, and the employment of other fonner
     7
         employees of Defendants ended, Defendants willfully failed to pay all the wages then owing,
     8
         including overtime wages then owing and meal and rest break premiums.
     9
                32.     Defendants have failed to comply with Labor Code §226(a) by not providing Plaintiff
    10
         and Plaintiff Class with itemized wage statements accurately reporting all applicable hourly rates or
    11
         the correct amount of regular, and/or overtime wages earned.
   12
                33.     Plaintiff received a non-discretionary, perfonnance-based bonus. However, the bonus
   13
         payments were not included in the calculation of Plaintiff's overtime wages. Therefore, Plaintiff
   14
         was routinely forced to work in excess of 8 hours each shift, but was not paid his proper overtime
   15
      rate as required under California law. On information and belief, this was also true for the Plaintiff
   16 Class during the liability period.
   17           34.     Because Defendants failed to calculate and pay proper overtime wages, neither the
   18    Plaintiff nor Plaintiff Class received accurate itemized wage statements showing the proper overtime
   19    hourly rates or the proper overtime wages due and owing employees.
   20           35.     Finally, again because Defendants failed to properly calculate overtime rates and pay
   2I    proper overtime wages, Plaintiff and Plaintiff Class did not receive payment of al I wages earned and
   22    unpaid immediately upon tennination or resignation of their employment.

   23           36.     When Plaintiff and Plaintiff Class worked more than five hours in a day with
   24    Defendants, and were provided with a meal period, the meal periods were consistently provided later

   25    than the end of the employee's fifth hour of work.
                37.     Plaintiff and Plaintiff Class were also entitled to a second meal period on days they
   26
         worked more than ten hours in a day, however, Defendants had a company-wide policy which failed
   27
         to provide a second meal period on such days.
   28

                                                        6
                                             CLASS ACTION COMPLAlNT
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                 38.     Additionally, Plaintiff and Plaintiff Class were consistently interrupted during the ten-

     2   minute rest breaks provided by Defendants.

     3           39.     Additionally, Plaintiff and Plaintiff Class were not reimbursed for necessary business

     4   expenses, including but not limited to tools.

     5           40.     Additionally, Plaintiff and Plaintiff Class were not paid vacation pay a the end of

     6   their employment.
                 41.     Furthermore, Defendants failed and/or refused to pay Plaintiff Class one (I) hour's
     7
         pay at the employees' regular rate of pay as premium compensation for failure to provide full rest
     8
         and/or meal periods or failure to provide such rest and/or meal periods within the statutory time
     9
         frame, as a result of thdr company-wide improper meal period and rest break policies.
    10
                 42.     Further, Business and Professions Code section 17203 provides that any person who
    11
         engages in unfair competition may be enjoined in any court of competent jurisdiction. Business and
    12
         Professions Code section 17204 provides that any person who has suffered actual injury and has lost
    13
         money or property as a result of the unfair competition may bring an action in a court of competent
    14
         jurisdiction.
    15
         V.      CLASS ALLEGATIONS
    16
                 43.     Plaintiff brings this action on behalf of himself and all other similarly situated
    17   persons, as a class action pursuant to California Civil Code of Procedure section 382. Plaintiff see!<.s

    18   to represent the class and sub-classes as follows:
    19                   a. Class:
                            All current and former California residents who work or worked for Defendants
   20                       as a non-exempt employee during the liability period, to be determined;
   21
                         b. Sub-Class 1: "Failure to Pay All Wages"
   22                       All current and former California residents who work or worked for Defendants
                            as a non-exempt employee, during the liability period, to be determined, and who
   23                       were not paid all wages due them, including but not limited to overtime and
                            dourble overti_m e wages, as a result of Defendants' illegal bonus policy;
   24

   25                    c. Sub-Class 2: "Failure to Provide Meal Periods"
                             All current and former California residents who work or worked for Defendants
   26                        as a non-exempt employee, during the liability period, to be determined, and who
                             were not provided legally complaint meal periods, or meal period premiums;
   27
                         d. Sub-Class 3: "Failure to Provide Rest Breaks"
   28
                            All current •and former CaJiforni.a residents who work or worked for Defendants
                                                              .,
                                               CLASS
                                                 . ACTION. COMPLAINT
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                                 as a non-exempt employee, during the liability period, to be detennined, and who
                                 were not provided legally compliant rest periods, or rest period premiums;
     2

     3                   e. Sub-Class 4: "Waiting Time Class"
                              All current and fonner California residents who worked for Defendants as a non-
     4                        exempt employee, during the liability period, to be determined, who have been
                              tenninated or resigned, and have not been paid wages pursuant to Labor Code
    ·5                        section 203 and are owed restitution for waiting time penalties deriving from
                              unpaid wages;
     6

     7                   f. Sub-Class 5: "Failure to Furnish Accurate Itemized Wage Statements"
                              All current and former California residents who work or worked for Defendants
     8                        as a non-exempt employee, during the liability period, to be determined, and who
                              were not provided pay stubs that complied with Labor Code §226; and
     9
                         g. Sub-Class 6: "Necessary Business Expenses"
    10
                             All current and former California residents who work or worked for Defendants
    11                     · as a non-exempt employee, during the liability period, to be determined, and who
                             were not reimbursed necessary business expenses, including but not limited to
    12                       tools;

    13                   h. Sub-Class 7: "Failure to Employees Vacation Wages"
                            All current and former California residents who work or worked for Defendants
    14
                            as a non-exempt employee, during the liability period, to be determined, and who
    15                      were not paid vacation wages at the end of employment;

    16                   i.   Sub-Class 8: "UCL Class"
                              Alt current and former California residents who work or worked for Defendants
    17                        as a non-exempt employee, during the liability period, to be aetermined, and who
    18                        suffered injury, including lost money, as a result of Defendants' unfair
                              competition, including but not limited to their policy of willfully failing to
    19                        provide proper meal and rest periods, failing to compensate for all wages earned,
                              including overtime and double overtime wages, and failing to provide properly
   20                         itemized wage statements.
   21
                 44.     Plaintiff reserves the right under Rule 3.765, California Rules of Court, to amend or
   22    modify the Class description with greater specificity or further division into subclasses or limitation
   23    to particular issues.
   24           45.      This action has been brought and may be maintained as a class action pursuant to
   25    Code of Civil Procedure §382 because there is a well-defined common interest of many persons and
   26    it is impractical to bring them all before the court.

   27       a) Numerosity: The potential members of the Class as defined are so numerous that joinder of

                all members of the Class is lrnpractical>le. While the precise 11un1l,er uf meml,ers uf ll1e Class

                                                                 8
                                                 CLASS ACTION COMPLAINT
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             has not been determined at this time, Plaintiff is informed and believes that Defendants
     2       currently employ, and during the liability period employed, over 50 employees in the State of

     3       California. Accounting for employee turnover during the liability period necessarily

     4       .increases this number substantially. Plaintiff alleges Defendants' employment records would

     5       provide infonnation as to the number and location of all members of the Class. Joinder of all

     6       members of the Class is not practicable.
          b) Commonality: There are questions of law and fact common to all members of.the Class and
    7
             subclasses. These common questions include, but are not limited to:
     8
                a. Did Defendants violate Labor Code § 1194 by not providing members of the Class the
    9
                     proper overtime compensation applicable to such Class members?
   10
                b. Did Defendants violate Labor Code §204 by not paying members of the Class for all
   11
                     overtime wages earned during each pay period?
   12
                c. Did Defendants violate Labor Code §226(a) by not furnishing members of the Class
    13
                     with accurate wage statements?
    14
                d. Did Defendants violate Labor Code §§201 or 202 by not paying all overtime wages
   15
                     and vacation wages owed upon termination or resignation?
   16
                e. Are Defendants liable to members of the Class for penalty wages under Labor Code
   17                §203?
   18           f.   Are Defendants liable to reimburse members of the Class Necessa,ry Business
   19                Expenses?
   20           g. Are Defendants liable to members of the Class for penalties under Labor Code

   21                §226(e}?

   22           h. Did Defendants violate the unfair competition law, Business & Professions Code

   23                § 17200 et seq., by their failure to properly compensate employees for overtime hours

   24                worked?

   25           i.   Did Defendants violate the ,unfair competition law, Business & Professions Code
                     § 17200 et seq., by their failure to provide proper meal perinds and rest breaks and
   26
                     provide premium compensation?
   27
                j.   Are members of the Class entitled to attorneys' fees and costs?
   28

                                                     9
                                          CLASS ACTION COMPLAINT
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                      k. Are members of the Class entitled to interest?
     2       c) Typicality: The claims of Plaintiff herein alleged are typical of those claims which could be
     3           alleged by any member of the Plaintiff Class, and the relief sought is typical of the relief
     4           which would be sought by members of the Plaintiff Class in separate actions. Plaintiff and

     5           Plaintiff Class sustained injuries and damages arising out of and caused by Defendants'

     6           common course of conduct, in violation of laws and regulations that have the force and effect

     7           of law and statutes as alleged herein.
             d) Adequacy of Representation: Plaintiff wil_l fairly and adequately represent and protect the
     8
                 interests of the members of the Class. Counsels who represent Plaintiff are competent and
     9
                 experienced in litigating class actions, including wage and hour class actions.
    10
             e) Superiority of Class Action: A class action is_superior to other available means for the fair
    11
                 and efficient adjudication of this controversy. Individual joinder of all members of the Class
    12
                 is not practicable, and questions of law and fact common to the Class predominate over:any
   13
                 questions affectin~ only indivi_dual members of the Class. Each member of the Class·· has
   14
                 been damaged and is entitled to recovery by reason of Defendants' illegal policy and/or
   15
                 practice of failing to properly compensate memb~rs ofth~ Class for wages.
   16
             f) Class action treatment will allow those si~il~tlr ~itu_ated persons to litigate their claims in the
   17            manner that is mo_st efficient and econom,ical .for the parties and the judicial system. Plaintiff
   18            is unaware pf any difficulties th~t are likely to be encountered in the management of this
   19           action that would preclude its maintenance as~ class action.
   20                                        VI.     CAUSES OF ACTION

   21                                        FIRST CAUSE OF ACTION

   22                                     FAILURE TO PAY ALL WAGES

   23                                 (On Behalf of Plaintiff and Plaintiff Class)

   24    •                                      (Against All Def~ndants)

   25           45.     . Plaintiff, individually_, and on b~half of Plaintiff Class, hereby reallege and
         incorporate by reference each and every one of the al_leg;ations contained in the preceding and
   26
         foregoing paragraphs of this Complaint as if fully set forth herein.
   27

   28
                                                           10
                                               CLASS ACTION COtv{PLAINT
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                 46.     Defendants have had a consistent policy and practice of failing to pay all wages due
    2    under its illegal bonus policies. At all relevant times herein, Defendants did not include bonus
    3    payments in the calculation of regular, overtime, and double overtime wages.

    4·           47.    The bonus payments described herein were not discretionary "gifts" or "gratuities,"

    5 rath_e r a sum required to be paid for services rendered by the members of the Failure to Pay All
    6    Wages Class. Therefore, these bonus payments are deemed "wages" under California law and Labor
         Code §200.
    7
                 48.    Defendants' pattern, practice and unifonn administration of corporate policy
    8
         regarding illegal employee compensation as described herein is unlawful and creates an entitlement,
    9
         pursuant to Labor Code §218, to recovery by Plaintiff and the members of the Failure to Pay All
   10
         Wages Class, in a civil action, of the unpaid balance of the full amount of wages owing, calculated at
   ll
         the appropriate rate.
   12
                49.     Pursuant to Labor Code §2 l 8.6 and CCP §3287, the members of the Failure to Pay
   13
         All Wages Class seek recovery of pre-judgment interest on all amounts recovered herein.
   14
                50.     Pursuant to Labor Code §218.5, the members of the Failure to Pay All Wages Class
   15
         request that the Court award reasonable attorneys' fees and costs incurred by them in this action.
   16
                                           SECOND CAUSE OF ACTION
   17    FAILURE TO PROVIDE OFF-DUTY MEAL PERIODS OR COMPENSATION IN LIEU OF
   18                                 (On Behalf of Plaintiff and Plaintiff Class)
   19                                          (Against All Defendants)
   20           51.     Plaintiff, individually, and on behalf of Plaintiff Class, hereby reallege and

   21    incorporate by reference each and every one of the allegations contained in the preceding and
   22    foregoing paragraphs of this Complaint as if fully set forth herein.

   23           52.     Labor· Code §226.7(b) provides that, "(a]n employer shall not require an employee to

   24    work during a meal or rest or recovery period mandated pursuant to an applicable statute, or

   25    applicable regulation, standard, or order of the Industrial Welfare Commission, the Occupational
         Safety and Health Standards Board,'or the Division of Occupational Safety and Health."
   26
                53.     Labor Code §512 provides that, "(a]n employer may not employee an employee for a
   27
         work period of more than five hours per day without providing the employee with a meal period of
   28

                                                         11
                                              CLASS ACTION COMPLAINT
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         not less than 30 minutes, except that if the total work period per day of the employee is no more than

     2   six hours, the meal period may be waived by mutual consent of both the employer and employee.

     J   An employer may not employ an employee for a work period of more than IO hour~ per day without

    4    providing the employee with a second meal period of not less than 30 minutes, except that if the total

     5 hours worked is no more than 12 hours, the second period may be waived by mutual consent of the
    6    employer and the employee only if the first meal period was not waived."

                54.     Labor Code §516 provides that the Industrial Welfare Commission "may adopt of
    7
         amend working condition orders with respect to break period, meal periods, and days of rest for any
    8
         workers in California consistent with the health and welfare of those workers."
    9
                55.     Section U(A) of the IWC Wage Order(s) provides that, "(u]nless the employee is
   10
         relieved of all duty during a 30 minute meal period, the meal period shall be considered an ' on duty'
   II
         meal period and counted as time worked. An 'on duty' meal period shall be permitted only when the
   12
         nature of the work prevents an employee from being relieved of all duty and when by written
   13
         agreement between the parties an on-the-job paid meal period is agreed to. The written agreement
   14
         shall state that the employee may, in writing, revoke the agreement at any time."
   15
                56.     Section I l(B) of the IWC Wage Order(s) provides that, "[i]f an employer fails to
   16
         provide an employee a meal period in accordance with the applicable provisions of this order, the
   17    employer shall pay the employee one (l) hour of pay at the employee's regular rate of compensation

   18    for each workday and that the meal period is not provided."
   19           57.     On one or more occasions, Plaintiff and Plaintiff Class worked over five (5) hours per

  . 20   shift and therefore were entitled to a meal period of not less than thirty (30) minutes prior to

   21    exceeding five (5) hours of employment.

   22           58.     Further, on one more occasions, Plaintiff and Plaintiff Class worked over ten ( I 0)

   23    hours per shift and therefore were entitled to a second meal period of not less than thirty (30)

   24    minutes.

                59.     Plaintiff and Plaintiff Class did not validly or. legally waive their meal periods, by
   25
         mutual consent with Defendants or oth_erwise.
   26
                60.     Plaintiff and Plain~iff Class did n?t enter into any written agreement with Defendants
   27
         agreeing to an on-the-job paid meal period.
   28

                                                        12
                                             CLASS ACTION COlvlPLAINT
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               · 61.       As a matter od Defendants' established company policy, Defendants failed to always
     2   comply with the meal period requirements established by Labor Code §§226. 7, 512 and 5 I 6, and

     3 Sectionl I of the IWC Wage Order(s) by failing to always provide Plaintiff and Plaintiff Class with a
     4   first and in some cases a second legally compliant meal period.

     5               62.   Pursuant to Section l l(B) of the IWC Wage Order(s) and Labor Code §226.7(c)
     6   which states, "[i]f an employer fails to provide an employee a meal or rest or recovery period in
         accordance with a state law, including, but not limited to, an applicable statute or applicable
     7
         regulation, standard, or order of the Industrial Welfare Commission, the Occupational Safety and
     8
         Health Standards Board, or the Division of Occupational Safety and Health, the employer shall pay
     9
         the employee one additional hour of pay at the employee's regular rate of compensation for each
   10
         workday that the meal or rest or recovery period is not provided," Plaintiff and Plaintiff Class are
    II
         entitled to damages in an amount equal to one (I) additional hour of pay at each employee's regular
   12
         rate of compensation for each work day that the meal period was not provided, in a sum to be proven
   13
         at trial.
   14
                                              THIRD CAUSE OF ACTION
   15
                     FAILURE TO PROVIDE REST BREAKS OR COMPENSATION IN LIEU OF
   16
                                       (Ou Behalfof Plaintiff and ~laiutiffClass)
   17                                           (Against All Defendants)
   18                63.   Plaintiff, individually, and on behalf of the Plaintiff Class, hereby reallege and
   19    incorporate by reference each and every one of the allegations contained in the preceding and
   20    foregoing paragraphs of this Complaint as if fully set forth herein.

   21                64.   Labor Code §226.7 requires employers to authorize and permit all employees to take

   22    a paid ten (10) minute rest break for every four (4) work hours, or major fraction thereof.

   23                65.   Labor Code §226. 7(b) provides tha~ if an employer fails to provide an employee rest

   24    breaks in accordance with this section, ~he employer shall pay the employee one (1) hour of pay at
         the employee's regular rate of compensation for each workday that the rest break is not provided.
   25
                     66.   Defendants, and each of them, failed and or refused to implement a relief system by
   26
         which Plaintiff and Plaintiff Class could receive rest breaks and/or work free rest breaks.
   27
         Furthermore, due to Defendants' reli~f system, Plaintiff and Plaintiff Class did not receive their rest
   28
                                                             13
                                                CLASS ACTION COMPLAINT
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        breaks within the required statutory time frame.           By and through their actions, Defendants

    2   intentionally and improperly denied rest periods to the Plaintiff and Plaintiff Class in violation of

    3   Labor Code §§226.7 and 512.

    4               67.   At all times relevant hereto, Plaintiff and Plaintiff Class have worked more than four

    5 (4) hours in a workday.

    6               68.   Pursuant to Section 1 l(B) of the IWC Wage Order(s) and Labor Code §226.7(c)

        which states, "[i]f an employer fails to provide an employee a meal or rest or recovery period in
    7
        accordance with a state law, including, but not limited to, an applicable statute or applicable
    8
        regulation, standard, or order of the Industrial Welfare Commission, the Occupational Safety and
    9
        Health Standards Board, or the Division of Occupational Safety and Health, the employer shall pay
   JO
        the employee one additional hour of pay at the employee's regular rate of compensation for each
   11
        workday that the meal or rest or recovery period is not provided," Plaintiff and Plaintiff Class are
   12
        entitled to damages in an amount equal to one (1) additional hour of pay at each employee's regular
   13
        rate of compensation for each work day that the rest break was not provided, in a sum to be proven
   14
        at trial.
   15
                                            FOURTH CAUSE OF ACTION
   16                 FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS
   17                                 (On Behalf of Plaintiff and Plaintiff Class)
   18                                           (Against All Defendants)
   19               69.   Plaintiff, individually, and on behalf of the Plaintiff Class, hereby reallege and

   20   incorporate by reference each and every one of the allegations contained in the preceding and

   21   foregoing paragraphs of this Complaint as if fully set forth herein.

   22               70.   Labor Code §226(a) states in pertinent part: "Every employer shall, semimonthly or

   23   at the time of each payment of wages, furnish each of his or her employees, either as a detachable

   24   part of the check, draft, or voucher payif',lg the employee's wages, or separately when wages are paid

        by personal check or cash, an accurate itemized statement in writing showing (I) gross wages
   25
        earned, (2) total hours worked by the employee ... (4) all deductions ... (5) net wages earned .. . and (9)
   26
        all applicable hourly rates in effect during the pay period and the corresponding number of hours
   27
        worked at each hourly rate by the employee... "
   28

                                                             14
                                               CLASS ACTION COMPLAINT
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                 71.     Further, the JWC Wage Order(s) §7(A) states in pertinent part: "(A) Every employer

     2   shall keep accurate information with respect to each employee including the following: ...(3) Time
    3    records showing when the employee begins and ends each work period. Meals periods, split shift

    4    intervals, and total daily hours worked shall also be records ...(5) Total hours worked in the payroll

    5    period and applicable rate of pay ... "

    6            72.     Therefore, pursuant to Labor Code §226(a) and the IWC Wage Order(s) §7(A),

    7 California employers are required to maintain accurate records pertaining to the total hours worked
      for Defendants by Plaintiff and Plaintiff Class, including but not limited to, beginning and ending of
    8
         each work period, meal period and split shift interval, the total daily hours worked, and the total
    9
         hours worked per pay per_iod and applicable rates of pay.
    10
                73.     As a pattern ·and practice, in violation of Labor Code §226(a) and IWC Wage
   11
         Order(s) §7A, Defendants did not and still do not furnish Plaintiff and Plaintiff Class with an
   12
         accurate itemized statement in writing showing (1) gross wages earned, (2) total hours worked.by the
   13
         employee, (3) all deductions, (4) net wages earned, and/or (5) all applicable hourly rates in effect
   14
         during the pay period and the corresponding number of hours worked at each hourly rate by each
   15
         respective forecaddie.
   16
                74.     As a pattern and practic~, in violation of Labor Code §226(a) and the IWC Wage
   17 Order(s) §7(A), Defendants did not a?d do not mai~tain accurate records pertaining to the tot~l :hours

   I8    worked for Defendants by Plaintiff and Plaintiff Class, including but not limited to, beginning and

   19    ending of each work period, meal period and split shift interval, the total daily hours worked, and the
   20    total hours worked per pay period and applicable rates of pay.

   21           75.     As of January I, 20 l 3, SB 1255 amended Labor Code §226 to clarify that an
   22    employee suffers' injury if the employer fails to provide accurate and complete information as
   23    required of any one or more items listed in Labor Code §226(a)( I )-(9) and the employee cannot

   24    promptly and easi!Y ascertain requisite infonn~tion within reference to other documents or

   25    information.
                76.     Here, Plaintiff and Plaintiff .Clas~ suffered injury because Defendants failed to
   26
         provide accurate and complete infonnation as required of one or more items listed in Labor Code
   27

   28

                                                          15
                                               CLASS ACTION COMPLAINT
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        §226(a)(t )-(9) and Plaintiff and Plaintiff Class could not and cannot promptly and easily ascertain

    2   requisite information without reference to other documents or information.

    3           77.     In addition, Plaintiff and Plaintiff Class have suffered injury as a result of

    4   Defendants' failure to maintain accurate records for Plaintiff and Plaintiff Class in that Plaintiff and

    5 Plaintiff Class were not timely provided written accurate itemized statements showing all requisite
    6   information, including but not limited to total hours worked by the employee, net wages earned and

    7   all applicable hourly rates in effect during the pay period and the corresponding number of hours

        worked at each hourly rate, in violation of Labor Code §226 and the IWC Wage Order(s) §7(A),
    8
        such that Plaintiff and Plaintiff Class were misled by Defendants as to the correct information
    9
        regarding various items, including but not. limited to total hours worked by the employee, net wages
   10
        earned and all applicable hourly rates in effect during the pay period and the corresponding number        '
   11
        of hours worked at each hourly rate.
   12
                78.    Pursuant to Labor Code §226(e), Plaintiff and Plaintiff Class are entitled to fifty
   13
        dollars ($50) per employee for the initial pay period in which a violation hereunder occurs and one
   14
        hundred dollars ($100) per employee for each violation in a subsequent pay ·p·eriod, not exceeding an
   15
        aggregate penalty of four thousand dollars ($4,000).
   16
                79.    Pursuant to Labor Code §226(g), the currently-employed Plaintiff and Plaintiff Class
   17   are entitled to injunctive relief to en.sure Defendants' compliance.with Labor Code §226.
   18           80.    Pursuant to Labor Code §226(e) and/or §226(g), Plaintiff and Plaintiff Class are also
   19   entitled to an award of costs and reasonable attorneys' fees.
   20                                       FIFTH CAUSE OF ACTION
   21                                     WAITING TIME PENALTffiS
   22                               (On Behalf of Plaintiff and Plaintiff Class)

   23                                          (Against All Defendants)

   24          81.     Plaintiff, individually, and on behalf of the Plaintiff Class, hereby reallege and

   25   incorporate by reference each and every one of the allegations contained in the preceding and

        foregoing paragraphs of this Complaint as if fully set forth herein.
   26

   27

   28

                                                          . 16
                                               CLASS ACTION COMPLAINT
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                 82.    Labor Code §§201 and 202 require Defendants to pay their employees all wages due

     2   immediately at the time of discharge, layoff, or resignation made with at least 72 hours of notice, or

     3   within 72 hours of resignation made within 72 hours of notice.

     4          83.     Labor Code §203 provides that if an employer willfolly fails to pay compensation

     5   promptly upon separation, as required by §§201 or 202, then the employer is liable for waiting time

     6   penalties in the form ofone day of wages for up to 30 days.
                84.     Plaintiff and Plaintiff Class are informed, believe, and allege thereon that Defendants
     7
         have failed to pay all earned wages to Plaintiff and Plaintiff Class during their employment with
     8
         Defendants. Jn addition, Plaintiff and Plaintiff Class have been discharged, laid off, resigned, retired
     9
         or otherwise separated from employment, but Defendants have not unconditionally paid earned
    10
         wages upon separation of employment within the time frame mandated by Labor Code §§20 I and
    11
         202. Defendants' conduct in this regard has been willful.
    12
                85.     As a consequence of Defendants' willful failure to pay wages due to each such
    13
         employee following separation from employment as required by Labor Code §§201 and 202,
    14
         Plaintiff and Plaintiff Class whose employment ended prior to the filing of this case and continuing
    15
         through the date of class certification are entitled to recover from Defendants an additional sum as
    16
         penalty, pursuant to Labor Code §203, equal to a day's wages, for thirty (30) days, plus i!lterest, for
    17   each employee who separated from employment Defendants, in amounts according to pfoof at trial.
    18                                      SIXTH CAUSE OF ACTION
    19                       VIOLATIONS OF THE UNFAIR COMPETITION LAW
   20                                (On Behalf of Plaintiff and Plaintiff Class)

   21                                          (Against All Defendants)

   22           86.     Plaintiff, on behalf of himself and all class members, hereby incorporate the

   23    preceding paragraphs as though fully set forth herein.

   24           87.     Labor Code§ 2802(a) provides:

   25           An employer shall indemnify his or her ernployee for all necessary expenditures or
                losses incurred by the employee in direct consequence of the discharge of his or her
   26
                duties, or of his or her obedience to the directions of the employer, even though
   27           unlawful, unless the employee, at the time of obeying the directions, believed them to
                be unlawful.
   28

                                                          17
                                              CLASS ACTION COMPLAINT
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                  88.     Within the last four years of the filing of this Complaint, Defendants, by virtue of

    2   their mileage reimbursement policies and practices, failed to indemnify Plaintiffs and the Business

    3   Reimbursement subclass appropriately for all necessary, mileage-related expenses that Plaintiffs and

    4   the Business Reimbursement subclass incurred while performing work for Defendants.

    5             89.    Plaintiffs and the Business Reimbursement subclass incurred substantial out-of-

    6   pocket losses because of Defendants' failure to reimburse Plaintiff and "the Business Reimbursement

    7   subclass appropriately for all necessary, mileage-related expenses that Plaintiffs and the Business

        Reimbursement subclass incurred while performing work for Defendants. To date, Defendants have
    8
        failed to indemnify Plaintiffs and the Business Reimburseme-nt subclass for these out-of-pocket
    9
        losses.
   10
                  90.    Under Labor Code§ 2802(c), Plaintiffs and the Business Reimbursement subclass are
   11
        entitled to recover all reasonable costs, including attorney's fees, incurred in enforcing their rights
   12
        granted by Labor Code § 2802 . .
   13
                                            SEYENTH CAUSE OF ACTION
   14
                                      FAILURE TO PAY VA.CA,TION WAGES
   15                                                                                                        ":"!',
                                       (On Be~a~f offlaintiff and Plaintiff Class)                           •···
   16                                           (Against All Defendants)
   17             91.    When California employees who have accrued vacation are term inated~J their

   18   employers must pay them all vacation wages owed.
   19             92.    California employers are not required to provide paid vacation to their workers. But,

   20   if they do, California law treats paid vacation the same as other wages in the sense that when

   21   employees who have accrued vacation are terminated,. their employers must pay them all vacation

   22   wages owed. Employers who fail to         _d?       so may _be liable for all of the unpaid vacation wages,

   23   interest, and waiting time penalties.

   24             93.    California Labor Code section 227.3 provides, in pertinent part, as follows:

                  [W]henever a contract of employment or employer policy provides for paid vacations,
   25                                   .                           .
                  and an employee is tennin_ated without having .taken off his vested vacation time, all
   26
                  vested vacation shall be paid to him as wages at his final rate in accordance with such·
   27                                                   .       '       .'   .
                  contract of employment or employeF pol\cy respecting e ligibility or time served;
   28

                                                           18
                                                CLASS ACTION <;:OMPLAINT
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                provided, however, that an employment contract or employer policy shall not provide for
     2          forfeiture of vested vacation time upon tennination. The Labor Commissioner or a

     3          designated representative, in the resolution of any dispute with regard to vested vacation

     4          time, shall apply the principles of equity and fairness.

     5                                       EIGHTH CAUSE OF ACTION

     6                            VIOLATION OF UNFAffi COMPETITION LAW

                                       (On Behalf of Plaintiff and Plaintiff Class)
     7
                                                (Against All Defendants)
     8
                94.       Plaintiff, individually, and on behalf of the Plaintiff Class, hereby reallege and
     9
         incorporate by reference each and every one of the allegations contained in the preceding and
    10
         foregoing paragraphs of this Complaint as if fully set forth herein.
    11
                95.       Business & Professions Code § 17200 prohibits unfair competition in the form of any
    12
         unlawful, unfair, or fraudulent business act or practice.
    13
                96.       Business & Professions Code § 17204 allows "any person acting for the interests of
    14
         itself, its members or the general public" to prosecute a civil action for violation of the UCL.
    15
                97.       Within the liability period, Defendants have improperly, fraudulently, and unlawfully
    16 excluded the payment of bonus payments in its calculation of overtime wages and have thereby

    17 committed unlawful, unfair and/or fraudulent business acts and practices and defined by Busi_ness &

    18   Professions Code § 17200, by engaging in the following conduct:
    19                a. Failing to pay Plaintiff and Plaintiff Class proper overtime compensation for all hours

   20                    worked over eight (8) in a day or forty'(40) in a workweek, as required by Labor

   21                    Code §§510, 1194 et seq. and IWC Wage Order(s);

   22                 b. Failing and refusing to provide meal periods to Plaintiff and Plaintiff Class, as

   23                    required by Labor Code §§226.7 and IWC Wage Order(s);

   24                 c. Failing and refusing to provide rest breaks to Plaintiff and Plaintiff Class, as required
                         by Labor Code §§226. 7 and IWC Wage Order(s);
   25
                      d . Failing to provide accurate itemized wage statements to Plaintiff and the Plaintiff
   26
                         Class, as required by Labor Code §226;
   27

   28
                                                              19
                                                CLASS ACTION COMPLAINT
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                       e. Failing to maintain payroll records showing the actual hours worked each day by
     2                      Plaintiff and PlaintifIClass, as required by Labor Code §1174 et seq. and IWC Wage

     3                      Order(s);

     4                 f.   Failing to reimburses for necessary business expenses as required under Labor Code §

     5                      2802;

     6                 g. Failing to pay vacation wages owed to employees, as required under Labor Code §
                            227.3;
     7
                       h. Failing to pay, upon tennination of employment all wages due to Plaintiff and
     8
                            Plaintiff Class, ~s required by Labor Code §§201, 202, and 203; and
     9
                 98.        The violations of these la.ws serve as unlawful, unfair, and/or fraudulent prr:clir.::itr: ::ir.ts
    1()
          and practices for purposes of Business and Professions Code § 17200.
    II
                 99.        As a result of the aforementioned actions, ~laintiff and Plaintiff Class have lost and
    12
          continue to lose money or property and suffered and continue to suffer injury in fact. Defendants
    13
          continue to hoid unpaid wages and other funds legally belonging to Plaintiff and Plaintiff Class.
    14
                  I 00.     Plaintiff and Plaintiff Class are entitled to restitution pursuant to Business &
    15
          Professions Code §§ l 7203 and 17208 for all unpaid wages, overtime pay, missed meal · period
    16    compensation, and interest since at least four years prior to the filing of this Complaint.
    17            IO I.     Pursuant to Business & Professions Code § 17203, Plaintiff and Plaintiff Class are
    18 entitled to: (a) re~titution of money acquired by Defendants by means of their unfair business
    19    practices, in amounts not yet ascertained by to be ascertained at trial; (b) a declaration that

   20     Defendants' business practices are unfair within the meaning of the statute, (c) a permanent

   21     injunction to prohibit Defendants from classifying Plaintiff and Plaintiff Class as independent

   22     contractors.

   23            102.       Plaintiff and Plaintiff Class are entitled to enforce all applicable penalty provisions of

   24     the Labor Code pursuant to Business & Professions Code § 17202.
                 103.       By all of the foregoing alleged conduct, Defendants have committed, and are
   25
          continuing to commit, ongoing unlawful, unfair and . fraudulent business practices within the
   26
          meaning of Business & Professions Code§ 17200 et seq.
   27

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                                                                   20
                                                    CLASS ACTION C()MPLAiNT
Case 5:21-cv-01136-DSF-E Document 1-8 Filed 07/07/21 Page 41 of 55 Page ID #:306
 Case 2:21-cv-00164-DSF-E Document 1-1 Filed 01/08/21 Page 22 of 23 Page ID #:30




                  104.     Plaintiff have assumed the responsibility of enforcement of the laws and lawful
     2    claims specified herein. There is a financial burden incurred in pursuing this action which is in the
     3    public interest. Therefore, reasonable attorneys' fees are appropriate pursuant to Cal. Code of Civil
     4   Procedure §1021.5.

     5                                        VII.      PRAYER FOR RELIEF

     6           WHEREFORE, Plaintiff, on behalf of himself and the above-described Plaintiff Class, pray
         for relief as follows, jointly and severally from all Defendants:
     7
                 A.        That the Court determine that this action may be maintained as a class action un·der
     8
         Code of Civil Procedure §382, and define the class as requested herein;
     9
                 B.        Provision of class notice to all members of Plaintiff Class;
    10
                 C.        A declaratory judgment that Defendants' violations described above were willful;
    11
                 D.        An equitable accounting to identify, locate, and restore to Plaintiff and Plaintiff Class,
    12
         the wages due;
    13
                 E.        For an Order requiring Defendants to identify each of the member of Plaintiff Class
    14
         by name, home address, home telep~one number and, if available, email address;
    15
                 F.        For an Order requiring Defendants to make full restitution and payment pursuant to
    16
         California law;
   17            G.       A permanent injunction to prohibit Defendants from classifying Plaintiff and Plaintiff
   18    Class as independent contractors;
   19            H.       For all other appropriate injunctive, declaratory and equitable relief;
   20            I.      An award to Plaintiff and Plaintiff Class in the amount of unpaid wages, including but
   21    not limited to proper overtime compensation, meal period and rest break premiums, in·cluding
   22    interest thereon, subject to proof at trial;

   23            J.      An award ofreasonable attorneys' fees and costs, pursuant to Labor Code §§226,

   24    218.5 and l 194, Code of Civil Procedure §1021.5 andlo~ other applicable law; and

   25           K.       An award to Plaintiff and Plaintiff Class of such other and further relief as this Court
         deems just and proper.
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         Ill
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         Ill
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                                                               21
                                                 CLASS ACTION COMPLAINT
Case 5:21-cv-01136-DSF-E Document 1-8 Filed 07/07/21 Page 42 of 55 Page ID #:307
 Case 2:21-cv-00164-DSF-E Document 1-1 Filed 01/08/21 Page 23 of 23 Page ID #:31




          Dated: December 2, 2020
     2
     3
                                                  YoonisHan
     4                                            Sam Kim
                                          Attorneys for Plaintiff JOSE NA VARR01 and al I others
     5
                                          similarly situated
     6

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                                    CLASS ACTION COMPLAINT
Case 5:21-cv-01136-DSF-E Document 1-8 Filed 07/07/21 Page 43 of 55 Page ID #:308




                 EXHIBIT E
                                     to
                       Declaration of
                 Jeremy F. Bollinger
        Case 5:21-cv-01136-DSF-E Document 1-8 Filed 07/07/21 Page 44 of 55 Page ID #:309
5/28/2021                                                        Civil Case Access - Print Case Information

Case Summarv:
 Case Id:         30-2018-0096813 7-CU-OE-CXC
 Case Title:      PAUL A STEWART VS. ARCONIC GLOBAL FASTENERS & RINGS, INC
 Case Type:       OTHER EMPLOYMENT
 Filing Date:     01/18/2018
 Category:        CIVIL - UNLIMITED


                                                   Docket
              -FILING TRANSACTION 4806354 RECEIVED ON 01/1
                                      12:56:41 PM.
                           T FILED BY STEWART, PAUL A ON 01/1
                IL CASE COVER SHEET FILED BY STEWART, PAUL A ON
                                       01/18/2018
                       S ISSUED AND FILED FILED BY STEWART, PAUL
                                                                                                              2 pages
                                     ON 01/18/2018
            PAYMENT RECEIVED BY ONELEGAL FOR 194 - COMPLAINT
            OR OTHER 1ST PAPER, 34 - COMPLEX CASE FEE - PLAINTIFF
    5                                                                                                         1 pages
               IN THE AMOUNT OF 1,435.00, TRANSACTION NUMBER
                      12285134 AND RECEIPT NUMBER 12108868.
                       IGNED TO WDICIAL OFFICER SANDERS, GLEND
                                    ON 01/18/2018.
               CASEMANAGEMENTCONFERENCESCHEDULEDFOR
               06/12/2018 AT 01:30:00 PM IN CXlOl AT CIVIL COMPLEX
                                       CENTER.
             HE CASE MANAGEMENT CONFERENCE IS SCHEDULED
                   06/12/2018 AT 01:30 PM IN DEPARTMENT CX101.
                    TES FINALIZED FOR CHAMBERS WORK 201
                                       11:18:00.0.
                    'S CERTIFICATE OF MAILING/ELECTRO
              -FILING TRANSACTION 4829115 RECEIVED ON 03/
                                     06:36:38 AM.
                PROOF OF SERVICE FILED BY STEWART, PAUL A ON
                                       03/27/2018
                PROOF OF SERVICE FILED BY STEWART, PAUL
                                       03/27/2018
              -FILING TRANSACTION 2661448 RECEIVED ON 04/17/201
                                      11:48:35 AM.
             ANSWER TO COMPLAINT (mRY TRIAL DEMANDED) FILED
   15           BY ARCONIC GLOBAL FASTENERS & RINGS, INC ON                                                   12 pages
                                       04/17/2018
            PAYMENT RECEIVED BY ONELEGAL FOR 195 - ANSWER OR
             OTHER 1ST PAPER, 35 - COMPLEX CASE FEE - RESPONSE IN
   16                                                                                                         1 pages
            THE AMOUNT OF 1,435.00, TRANSACTION NUMBER 12332774
                           AND RECEIPT NUMBER 12156504.
               FILING TRANSACTION 2679440 RECEIVED ON 06/08/
                                                                                                                NV
                                      02:14:36 PM.
              STATUS CONFERENCE STATEMENT FILED BY STEWART,
                                                                                                              5 pages
                                 PAUL A ON 06/08/2018


https://ocjustice.occourts.org/civilwebShoppingNS/PrintCase.do                                                           1/7
        Case 5:21-cv-01136-DSF-E Document 1-8 Filed 07/07/21 Page 45 of 55 Page ID #:310
5/28/2021                                                        Civil Case Access - Print Case Information

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                                                   Docket
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             E-FILING TRANSACTION 4855543 RECEIVED ON 06/13/2018
                                                                             /13/2018
                                        12:46:39 PM.
                    OTICE OF HEARING FILED BY STEWART, PAUL A ON
                                                                             /13/2018                                  3 pages
                                         06/13/2018
                 CASE MANAGEMENT CONFERENCE SCHEDULED FOR
   21           09/12/2018 AT 01:30:00 PM IN CX101 AT CIVIL COMPLEX      06/12/2018                                      NV
                                          CENTER.
                  CASE MANAGEMENT CONFERENCE CONTINUED TO
            09/12/2018 AT 01:30 PM IN THIS DEPARTMENT PURSUANT TO 06/12/2018                                             NV
                                    PARTY'S MOTION.
                      MINUTES FINALIZED FOR CASE MANAGEMENT
                           CONFERENCE 06/12/2018 01:30:00 PM.
                        PROPOSED ORDER RECEIVED ON 09/07/2018
             E-FILING TRANSACTION 2710220 RECEIVED ON 09/07/2
                                        05:19:15 PM.
            STIPULATION AND ORDER (RE REQUEST CONTINUANCE OF
   26          STATUS CONFERENCE) FILED BY STEWART, PAUL A ON           09/12/2018                                     4 pages
                                         09/12/2018
            PAYMENT RECEIVED BY ONELEGAL FOR 37 - STIPULATION
   27           AND ORDER IN THE AMOUNT OF 20.00, TRANSACTION           09/12/201                                      1 pages
                  NUMBER 12416805 AND RECEIPT NUMBER 12240496.
                 CASEMANAGEMENTCONFERENCESCHEDULEDFOR
   28            12/12/2018 AT 01:30:00 PM IN CX101 AT CIVIL COMPLEX                                                     NV
                                         CENTER.
                  CASE MANAGEMENT CONFERENCE CONTINUED TO
   29       12/12/2018 AT 01:30 PM IN THIS DEPARTMENT PURSUANT TO 09/12/201                                              NV
                                      STIPULATION.
                      MINUTES FINALIZED FOR CASE MANAGEMENT
                           CONFERENCE 09/12/2018 01:30:00 PM.
                 PROPOSED STIPULATION AND ORDER RECEIVED 0
                                         12/07/2018
                 CASE MANAGEMENT CONFERENCE SCHEDULED FOR
   32           03/13/2019 AT 01:30:00 PM IN CXlOl AT CIVIL COMPLEX                                                      NV
                                         CENTER.
                  CASE MANAGEMENT CONFERENCE CONTINUED TO
   33       03/13/2019 AT 01:30 PM IN THIS DEPARTMENT PURSUANT TO 12/12/2018                                             NV
                                      STIPULATION.
                      MINUTES FINALIZED FOR CASE MANAGEMENT
                           CONFERENCE 12/12/2018 01:30:00 PM.
             E-FJLING TRANSACTION 3737366 RECEIVED ON 12,v,,,,,_v.J.u 11 1 r)/ 1 '.l!/'1£1, 1 oll
                                                                                                                         NV
                                       08:22:24 AM.
                STIPULATION AND ORDER (CONTINUANCE OF STATU~          111 r, 11 n,,.,n 11 Q
                                                                                                                        pages
             r"•n11..i BRENCE FILED BY STEWART, PAUL A ON 12/10/2018

            PAYMENT RECEIVED BY ONELEGAL FOR 37 - STIPULATION
                AND ORDER IN THE AMOUNT OF 20.00, TRANSACTION            12/13/2018                                    1 pages
                  NUMBER 12467950 AND RECEIPT NUMBER 12291647.
                 PROPOSED STIPULATION AND ORDER RECEIVED ON
                                                                           3/11/2019                                   4 pages
                                         03/11/2019

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        Case 5:21-cv-01136-DSF-E Document 1-8 Filed 07/07/21 Page 46 of 55 Page ID #:311
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                                                   Docket
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                CASEMANAGEMENTCONFERENCESCHEDULEDFOR
                05/14/2019 AT 01:30:00 PM IN CXlOl AT CML COMPLEX     03/12/2019
                                        CENTER.
             E-FILING TRANSACTION 2771660 RECEIVED ON 03/11/2019
                                       04:17:27 PM.
               STIPULATION AND ORDER (CONTINUANCE OF STATUS
             CONFERENCE) FILED BY STEWART, PAUL A ON 03/12/2019
            PAYMENT RECEIVED BY ONELEGAL FOR 37 - STIPULATION
               AND ORDER IN THE AMOUNT OF 20.00, TRANSACTION
                  NUMBER 12514694 AND RECEIPT NUMBER 12338410.
                 PROPOSED STIPULATION AND ORDER RECEIVED ON         11

                                        05/09/2019
                CASEMANAGEMENTCONFERENCESCHEDULEDFOR
                07/17/2019 AT 01:30:00 PM IN CX101 AT CIVIL COMPLEX
                                        CENTER.
             ~~~~a~ G TRANSACTION 3789872 RECEIVED ON 05/09/2019
                                       12:32:55 PM.
                   STIPULATION AND ORDER (TO CONTINUE STATUS
             c''.ON BRENCE) FILED BY STEWART, PAUL A ON 05/09
            PAYMENT RECEIVED BY ONELEGAL FOR 37 - STIPULATION
               AND ORDER IN THE AMOUNT OF 20.00, TRANSACTION
                  NUMBER 12549814 AND RECEIPT NUMBER 12373693.
                      PROPOSED ORDER RECEIVED ON 07/12/2019
                      PROPOSED ORDER RECEIVED ON 07/12/2019
                CASEMANAGEMENTCONFERENCESCHEDULEDFOR
                09/18/2019 AT 01:30:00 PM IN CX101 AT CIVIL COMPLEX
                                        CENTER.
                      PROPOSED ORDER RECEIVED ON 07/12/2019
             E-FILING TRANSACTION 3811919 RECEIVED ON 07/12/201
                                       12:19:56 PM.
             STIPULATION - OTHER (CONTINUE STATUS CONFERENCE)
                       FILED BY STEWART, PAUL A ON 07/12/2019
                     PAYMENT RECEIVED BY ONELEGAL FOR 37 -
             MOTION/NOTICE TO CONTINUE HEARING OR CMC IN THE
   54                                                                                                                  1 pages
             AMOUNT OF 20.00, TRANSACTION NUMBER 12585863 AND
                             RECEIPT NUMBER 12409902.




                  ING TRANSACTION 3811901 RECEIVED ON 07/1
                                11:59:50 AM.
               PROPOSED STIPULATION AND ORDER RECEIVED ON
                                 07/12/2019.
               E-FILING TRANSACTION NUMBER 1643475 REJECTED.
https://ocjustice.occourts.org/civilwebShoppingNS/PrintCase.do                                                                   3/7
        Case 5:21-cv-01136-DSF-E Document 1-8 Filed 07/07/21 Page 47 of 55 Page ID #:312
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                      PROPOSED ORDER RECEIVED ON 09/13/2019
             E-FILING TRANSACTION 1665837 RECEIVED ON 09/13/2019
                                       12:09:41 PM.
                 PROPOSED STIPULATION AND ORDER (TO REQUEST
             CONTINUANCE OF STATUS CONFERENCE) RECEIVED ON                                                             5 pages
                                        09/13/2019.
                CASE MANAGEMENT CONFERENCE SCHEDULED FOR
                12/18/2019 AT 01:30:00 PM IN CX101 AT CIVIL COMPLEX                                                      NV
                                         CENTER.
                 ILING TRANSACTION 41012176 RECEIVED ON 09/13
                                       12:09:47 PM.
                    STIPULATION AND ORDER (CONTINUE STATUS
                              FILED BY STEWART, PAUL A ON 09/17/2019
            PAYMENT RECEIVED BY ONELEGAL FOR 37 - STIPULATION
               AND ORDER IN THE AMOUNT OF 20.00, TRANSACTION
                 NUMBER 12622521 AND RECEIPT NUMBER 12447000.
                 PROPOSED STIPULATION AND ORDER RECEIVED 0
                                        12/06/2019
                 PROPOSED STIPULATION AND ORDER RECEIVED ON
                                        12/13/2019
                CASEMANAGEMENTCONFERENCESCHEDULEDFOR
                03/18/2020 AT 01:30:00 PM IN CX101 AT CIVIL COMPLEX
                                         CENTER.
                THE CASE MANAGEMENT CONFERENCE IS RESET TO
                     03/18/2020 AT 01:30 PM IN THIS DEPARTMENT.
                 INUTES FINALIZED FOR CHAMBERS WORK.12/17/2019
                                       04:04:00 PM.
   73       CLERK'S CERTIFICATE OF MAILING/ELECTRONIC SERVICE
                E-FILING TRANSACTION NUMBER 3866973 REJECTED.
            E-FILING TRANSACTION 41042698 RECEIVED ON 12/06/2019
   75
                                      04:46:30 PM.
            STIPULATION AND ORDER (PROTECTIVE ORDER) FILED B
   76                                                                                                                  15 pages
            ARCONIC GLOBAL FASTENERS & RINGS, INC ON 12/31 '"f\ 1 I\                                    u~-, ~

              PAYMENT RECEIVED BY AMERICANLEGALNET FOR 37 -
                STIPULATION AND ORDER IN THE AMOUNT OF 20.00,
   77                                                                                                                  1 pages
             TRANSACTION NUMBER 12684155 AND RECEIPT NUMBER
                                         12509054.
                 PROPOSED STIPULATION AND ORDER RECEIVED ON
   78
                                        03/11/2020
                CASEMANAGEMENTCONFERENCESCHEDULEDFOR
   79          05/07/2020 AT 01:30:00 PM IN CX101 AT CML COMPLEX
                                         CENTER.
               -FILING TRANSACTION 2901453 RECEIVED ON 03/11/2020
                                      01:54:30 PM.
              STIPULATION AND ORDER (RE REQUEST TO CONTINUE
   81         STATUS CONFERENCE) FILED BY STEWART, PAUL A ON                                                           3 pages
                                        03/12/2020


https://ocjustice.occourts.org/civilwebShoppingNS/PrintCase.do                                                                    4/7
      Case 5:21-cv-01136-DSF-E Document 1-8 Filed 07/07/21 Page 48 of 55 Page ID #:313
5/28/2021                                                        Civil Case Access - Print Case Information

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                                                   Docket
                                                                                                              Date
       PAYMENT RECEIVED BY ONELEGAL FOR 37 - STIPULATION
         AND ORDER IN THE AMOUNT OF 20.00, TRANSACTION
           NUMBER 12726366 AND RECEIPT NUMBER 12552325.
       CLERK'S CERTIFICATE OF MAILING/ELECTRONIC SER
          STATUS CONFERENCE SCHEDULED FOR 08/11/2020 /\.
            01:30:00 PM IN CX101 AT CIVIL COMPLEX CENTER.
         E STATUS CONFERENCE IS SCHEDULED FOR 08/11/2
                     01:30 PM IN DEPARTMENT CX101.
               TES FINALIZED FOR CHAMBERS WORK 05/2
                                04: 10:00 PM.
           RK'S CERTIFICATE OF MAILING/ELECTRO
          PROPOSED STIPULATION AND ORDER RECEIVED ON
                                 08/06/2020
          PROPOSED STIPULATION AND ORDER RECEIVED 0
                                 08/07/2020
                  S CONFERENCE SCHEDULED FOR 09/08/2020 AT
            01:30:00 PM IN CXlOl AT CIVIL COMPLEX CENTER.
      STATUS CONFERENCE CONTINUED TO 09/08/2020 AT
                S DEPARTMENT PURSUANT TO COURT'S MOTION.
               TES FINALIZED FOR CHAMBERS WORK 08/10/2020
                                03:26:00 PM.
           RK'S CERTIFICATE OF MAILING/ELECTRONIC SERVICE
          E-FILING TRANSACTION NUMBER 1757619 REJECTED.
          E-FILING TRANSACTION NUMBER 2929725 REJECTED.
               PROPOSED ORDER RECEIVED ON 08/20/2020
        E-FILING TRANSACTION 2933110 RECEIVED ON 08/
                                02:17:11 PM.
             R- OTHER (GRANTING LEAVE TO FILE 1ST AM
         COMPLAINT FILED BY STEWART, PAUL A ON 08/24/
       CLERK'S CERTIFICATE OF MAILING/ELECTRONIC SER
             ING TRANSACTION 1763015 RECEIVED ON 08/26/
                                11 :09:53 AM.
           NDED COMPLAINT (FIRST) FILED BY STEWART, PAUL A
                               ON 08/26/2020
          PROPOSED STIPULATION AND ORDER RECEIVED ON
                                 09/02/2020
          STATUS CONFERENCE SCHEDULED FOR 11/10/2020 AT
            01:30:00 PM IN CX101 AT CIVIL COMPLEX CENTER.
          FILING TRANSACTION 3933180 RECEIVED ON 09/02/2020
                                10:00:45 AM.
         STIPULATION AND ORDER (RE REQUEST TO CONTINUE
  105    STATUS CONFERENCE) FILED BY STEWART, PAUL A ON                                                                3 pages
                                 09/03/2020
       PAYMENT RECEIVED BY ONELEGAL FOR 37 - STIPULATION
  10     AND ORDER IN THE AMOUNT OF 20.00, TRANSACTION                                                                 1 pages
           NUMBER 12777167 AND RECEIPT NUMBER 12603862.
  107 CLERK'S CERTIFICATE OF MAILING/ELECTRONIC SERVICE 09/03/202                                                      4pages
https:f/ocjustice.occourts.org/civilwebShoppingNS/PrintCase.do                                                                   sn
       Case 5:21-cv-01136-DSF-E Document 1-8 Filed 07/07/21 Page 49 of 55 Page ID #:314
5/28/2021                                                        Civil Case Access - Print Case Information


                                                   Docket
             E-FILING TRANSACTION 1771477 RECEIVED ON 09/24/2020
                                    04:47:08 PM.
            ANSWER TO AMENDED COMPLAINT (TO FIRST AMENDED
             COMPLAINT) FILED BY ARCONIC GLOBAL FASTENERS &                                                   12 pages
                              RINGS, INC ON 09/24/2020
                PROPOSED STIPULATION AND ORDER RECEIVED ON
                                     11/04/2020
               STATUS CONFERENCE SCHEDULED FOR 01/19/2021 AT
                 01:30:00 PM IN CX101 AT CIVIL COMPLEX CENTER.
              - LING TRANSACTION 41129796 RECEIVED ON 11/04/20
                                    11:10:55 AM.
                   STIPULATION AND ORDER (CONTINUE STATUS
             CONFERENCE) FILED BY STEWART, PAUL A ON 11/09/2020
            PAYMENT RECEIVED BY ONELEGAL FOR 37 - STIPULATION
               AND ORDER IN THE AMOUNT OF 20.00, TRANSACTION
                NUMBER 12806147 AND RECEIPT NUMBER 12633186.
            CLERK'S CERTIFICATE OF MAILING/ELECTRONIC SER
               CASE REASSIGNED TO KIRK NAKAMURA EFFECTIVE
                                     01/04/2021.
              STATUS CONFERENCE REASSIGNED TO CX103 AT CIVIL
                  COMPLEX CENTER ON 01/19/2021 AT 01:30:00 PM.
                PROPOSED STIPULATION AND ORDER RECEIVED 0
                                     01/14/2021
               STATUS CONFERENCE SCHEDULED FOR 02/19/2021 AT
                 09:00:00 AM IN CX103 AT CIVIL COMPLEX CENTER.
               FILING TRANSACTION 1803083 RECEIVED ON 01/14/,,_,v,,_,_..lll"\1/1 ~ .,... n~'1
                                    01:51:37 PM.
                   STIPULATION AND ORDER (CONTINUE STATUS
                        NCE FILED BY STEWART PAUL A ON 01/15/2021




                   'S CERTIFICATE OF MAILING/ELECTRONIC SERVI
               PROPOSED STIPULATION AND ORDER RECEIVED 0
                                    02/16/2021
              - ILING TRANSACTION 1812986 RECEIVED ON 02/16/2021
                                   12:09:47 PM.
                  STIPULATION AND ORDER (CONTINUE STATUS
             CONFERENCE FILED BY STEWART, PAUL A ON 02/17/2
            PAYMENT RECEIVED BY ONELEGAL FOR 37 - STIPULATION
              AND ORDER IN THE AMOUNT OF 20.00, TRANSACTION                                                   1 pages
                NUMBER 12845726 AND RECEIPT NUMBER 12673285.
               STATUS CONFERENCE SCHEDULED FOR 04/23/2021 AT
                09:00:00 AM IN CX103 AT CIVIL COMPLEX CENTER.




https://ocjustice.occourts.org/civilwebShoppingNS/PrintCase.do                                                           6/7
      Case 5:21-cv-01136-DSF-E Document 1-8 Filed 07/07/21 Page 50 of 55 Page ID #:315
5/28/2021                                                        Civil Case Access - Print Case Information




               STATUS CONFERENCE SCHEDULED FOR 06/04/2021 AT
                09:00:00 AM IN CX103 AT CIVIL COMPLEX CENTER.
            E-FILING TRANSACTION 31004724 RECEIVED ON 04/
                                   02:13:44 PM.
                  STIPULATION AND ORDER (CONTINUE STATUS
             CONFERENCE) FILED BY STEWART, PAUL A ON 04/19/2
            PAYMENT RECEIVED BY ONELEGAL FOR 37 - STIPULATION
              AND ORDER IN THE AMOUNT OF 20.00, TRANSACTION
                NUMBER 12874871 AND RECEIPT NUMBER 12702590.
            CLERK'S CERTIFICATE OF MAILING/ELECTRONIC SERVI                                                   /21/2021

                                      Name
    CONIC GLOBAL FASTENERS & RINGS, INC
  'AUL A STEWART
       A GLOBAL FASTENERS, INC

            HAWKINS APLC

                    Descri tion                                  Date
            S CONFERENCE                                         /2021




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Case 5:21-cv-01136-DSF-E Document 1-8 Filed 07/07/21 Page 51 of 55 Page ID #:316




                 EXHIBIT F
                                     to
                       Declaration of
                 Jeremy F. Bollinger
       Case 5:21-cv-01136-DSF-E Document 1-8 Filed 07/07/21 Page 52 of 55 Page ID #:317




~1•11~partmentof
..            Industrial Relations
 STATE OF CALIFORNIA


                                                        PAGA NOTICE PUBLIC SEARCH- CASE DETAIL

Case Information
   Case Number: LWDA~CMA17494-18
   Plaintiff for PAGA Case: Paul A. Stewart
   Filer/Attorney for PAGA Case: Jsandra Fernandez
   Law Firm for PAGA Plaintiff: JAMES HAWKINS APLC
   Employer: Arconic Global Fasteners and Rings, Inc.
   Date Case Received:
   Filer for Employer:
   Employer Filer Firm:
   Court Type:
   Court Name:
   PAGA Court Case Number:
   Violation Type:
   Related BOFE Cnsc:



Attachments

Attachment Name                       Description                                    Date Submitted   Type




5/28/2021 I Page I of I
Case 5:21-cv-01136-DSF-E Document 1-8 Filed 07/07/21 Page 53 of 55 Page ID #:318
Case 5:21-cv-01136-DSF-E Document 1-8 Filed 07/07/21 Page 54 of 55 Page ID #:319




       Jeremy F. Bollinger (SBN 240132)
       Dennis F. Moss (SBN 77512)
     2 Ari E. Moss (SBN 238579)
       Kiara Bramasco (SBN 322600)
     3 MOSS BOLLINGER LLP
        15300 Ventura Blvd., Ste. 207
     4 Sherman Oaks, California 91403
       Telephone: (310) 982-2984
     5 Facsimile: (818) 963-5954
       jeremy@mossbollinger.com
     6 dennis@mossbollinger.com
       ari@mossbollinger.com
     7 kiara@mossbollinger.com

      8   Attorneys for Plaintiff
          DAVID WALKER
      9
                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
     10
                                       COUNTY OF SAN BERNARDINO
     11

     12   DAVID WALKER, an individual, on behalf of     Case No. CIVDS20223 I I
          himself and all others similarly situated,
     13                                                 [Assigned for all purposes to Hon. David
                         Plaintiffs,                    Cohn, Dept. S-26]
     14
                 vs.                                    PROOF OF SERVICE
     15
          HOWMET AEROSPACE, INC., a Delaware            Date: June 7, 2021
     16   corporation; SCHLOSSER FORGE                  Time: 10:00 am
          COMPANY, a Delaware corporation; and          Dept: S-26
     17   DOES 1-50,

     18                  Defendants.                    Action Filed: October 13, 2020

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                                            PROOF OF SERVICE
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 I                                              PROOF OF SERVICE
 2             STATE OF CALIFORNIA, COUNTY OF SAN BERNARDINO
 3           I am employed in the County of Los Angeles, State of California. I am over the age of 18 and
     not a paiiy to the within action; my business address is: 15300 Ventura Blvd, Suite 207, Sherman
 4   Oaks, CA 91403. On May 28, 2021, I served the foregoing document(s) described as:
 5             •     PLAINTIFF DAVID WALKER'S REPLY IN SUPPORT OF MOTION FOR LEAVE
                     TO FILE FIRST AMENDED COMPLAINT
 6             •     SUPPLEMENTAL DECLARATION OF JEREMY F. BOLLINGER IN SUPPORT
                     OF PLAINTIFF'S MOTION FOR LEAVE TO FILE FIRST AMENDED
 7                   COMPLAINT
 8             on the interested party(ies) below, using the following means:
 9             Gene Ryu
               Carter L. Norfleet
10
               K&L Gates LLP
11             IO I 00 Santa Monica Blvd., 8th Floor
               Los Angeles, CA 90067
12             Email: gene.ryu@klgates.com; carter.norfleet@klgates.com
               Attorneys for Defendants Howmet Aerospace, Inc.
13             and Schlosser Forge Company
14
     D BY UNITED STATES MAIL I enclosed the documents in a sealed envelope or package addressed to the
15   respective address(es) of the party(ies) stated above and placed the envelope(s) for collection and
     mailing, following our ordinary business practices. I am readily familiar with the firm's practice of
16   collection and processing correspondence for mailing. On the same day that correspondence is placed
     for collection and mailing, it is deposited in the ordinary course of business with the United States
17   Postal Service, in a sealed envelope with postage fully prepaid at Los Angeles, California.

18   IZI BY ELECTRONIC TRANSMISSION. Based on a court order or an agreement of the parties to accept service
     by e-mail or electronic transmission, I caused the document(s) to be sent to the respective e-mail
19   address(es) of the party(ies) as stated above. I did not receive, within a reasonable time after the
     transmission, any electronic message or other indication that the transmission was unsuccessful.
20
     IZI (STATE) I declare under penalty of perjury under the laws of the State of California that the foregoing
21   is true and correct.

22             Executed on May 28, 2021 at Los Angeles, California.

23
     Lea Garbe
24   lPrint Name of Person Executing Proof]             [Signature]


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                                                 PROOF OF SERVICE
